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                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA                     :
                                              :
        v.                                    : CASE NO. 21-CR-83 (TNM)
                                              :
 BRANDON FELLOWS,                             :
     Defendant.                               :


                  MOTION FOR COURT TO TAKE JUDICIAL NOTICE
                           UNDER FED. R. EVID. 201

        The United States of America, by and through its attorney, the United States Attorney

 for the District of Columbia, respectfully moves this Court to take judicial notice of the attached

 exhibits under Fed. R. Evid. 201(b) and (c)(2). In support thereof, the government states the

 following:

                                        BACKGROUND

       On June 14, 2021, Pretrial Services Agency (PSA) filed a Petition for Warrant, requesting

that a warrant be issued for the defendant Brandon Fellows (ECF Doc.29). Two prior Violation

Petitions had been filed (ECF Doc. 23, 26), and hearings held on May 6 and June 4, 2021 pursuant

to the government’s Motions to Revoke (ECF Doc. 24, 27). Defendant was allowed to remain

free, with added conditions of home confinement and mental health evaluation and treatment.

With the third violation, a warrant was requested, alleging defendant was a danger to the

community (ECF Doc. 29, Petition for Warrant). The government filed a Third Motion to Revoke

on June 14, 2021 (ECF Doc. 30). This Court then issued a warrant June 15, 2021 and

supplemented as a “no bond” warrant on June 16, 2021 by minute entry.




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       At his initial appearance on the warrant in the Northern District of New York on June 15,

2021, the government made a motion to detain the defendant without bond pending the revocation

hearing (NDNY, case no. 21-mj-314, Text Min. Entry 6/15/21)(hereinafter “NDNY”).

       The presiding magistrate judge held a detention hearing on June 16, 2021, after which he

directed the parties to brief the appropriateness of holding a detention hearing in the Northern

District of New York (NDNY, Text Min. Entry 6/16/21). Both parties responded (NDNY, Doc.

3, Letter Brief from USA; Doc. 4, Letter from defense counsel in reply to Doc. 3; Doc. 5., USA

Letter in reply; Doc. 6, Letter and Supporting USPO Exhibits filed by USA). On June 23, 2021

the magistrate filed a written Order detainung the defendant, and ordered him to be transported

to Washington, D.C. for further proceedings. (NDNY, Doc. 7, Commitment to Another District;

Doc. 8, Decision and Order). A revocation hearing is currently scheduled in this Court for July

14, 2021.

       The attached Document 6 and its supporting attachments, 6-1, were submitted by the

United States of America to the magistrate in the NDNY. The attachments were redacted versions

of United States Probation Office submissions made directly to the Court. The Government

intends to introduce these documents at the revocation hearing. Counsel for the defendant has

been consulted and does not object to the request for the Court to take judicial notice of these

exhibits.

                                          ARGUMENT

            Fed. R. Evid. 201 states:

            (b) Kinds of Facts That May Be Judicially Noticed – The court may judicially notice
                a fact that is not subject to reasonable dispute because it:

                   (1) is generally known within the trial court’s territorial
                   jurisdiction; or
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                (2) can be accurately and readily determined from sources whose
                accuracy cannot reasonably be questioned.


The Rule goes on to state the court “must take judicial notice if a party requests it and the court

is supplied with the necessary information.” Fed. R. Evid. 201(c)(2). This motion is such a

request, and the necessary information is being supplied to the Court herein.

         The associated attachments are screen shots, texts messages and e-mail exchanges

between, or provided by, the Defendant and his assigned pre-trial services officer, Kendra

Rennie, from the United States Probation Office in the Northern District of New York. The

attached document and associated attachments were filed by the United States Attorney’s Office

for the Northern District of New York at the Court’s request to assist the magistrate in

determining the defendant’s status of release or detention, pursuant to a warrant issued by this

Court.

         Although the detention was held in another jurisdiction, it is the same defendant and

subject matter this is before this Court. The documents are from a source “whose accuracy

cannot reasonably be questioned.” This Court has the authority to take judicial notice or related

proceedings in other courts. Dupree v. Jefferson, 666 F.2d 606, 608, n.1 (D.C. Cir. 1981), cited

in Luke v. United States, 2014 WL 211305, at *1 (D.C. Cir. Jan. 13,2014); See also, United

States v. Edmond, 2021 WL 706534, at *4, n. 2 (D.D.C, Feb. 23, 2021).




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                                       CONCLUSION

       WHEREFORE, the Government moves this Court to take judicial notice of the attached

document and its associated attachments as their source cannot be reasonably questioned.

                                     Respectfully submitted,

                                     CHANNING D. PHILLIPS
                                     Acting United States Attorney


                              By:    /s/ Mona Lee M. Furst ________
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                                CERTIFICATE OF SERVICE

         On the 29th day of June, 2021, a copy of the foregoing was served on counsel of
 record for the defendant via e-mail.

                                                       /s/Mona Lee M. Furst
                                             Mona Lee M. Furst
                                             Assistant United States Attorney



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